                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                                              CASE NO. 6:20-cr-97-GAP-LRH

 JOEL MICAH GREENBERG

                                                                               AUSA: Roger Handberg
                                                                                  Jennifer Harrington
                                                                       Defense Attorney: Fritz Scheller

JUDGE:                EMBRY J. KIDD                            DATE AND TIME:                    March 3, 2021
                      United States Magistrate Judge                                      2:38 P.M. – 2:44 P.M.

Courtroom:            4C                                       TOTAL TIME:                              6 minutes



DEPUTY CLERK :        T. LeGros                                RECORDING :                                Digital

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INTERPRETER:          N/A                                      PRETRIAL:                       Charles Sweatt

                                   CLERK ’S MINUTES
                  INITIAL APPEARANCE ON VIOLATION OF PRETRIAL RELEASE
 Case called, appearances made, procedural setting by the Court.
 Court advises defendant of his rights.
 Government summarizes the violations in the petition.
 Government is seeking detention.
 Defendant waives his right to a preliminary hearing.
 Defendant does not contest the violations in the petition.
 Court revokes bond and defendant will remain in custody pending further proceedings; Order to enter.
 Court adjourned
